Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 1 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 2 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 3 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 4 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 5 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 6 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 7 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 8 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document      Page 9 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 10 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 11 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 12 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 13 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 14 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 15 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 16 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 17 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 18 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 19 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 20 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 21 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 22 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 23 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 24 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 25 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 26 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 27 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 28 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 29 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 30 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 31 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 32 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 33 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 34 of 35
Case 1:15-bk-12127   Doc 10    Filed 11/09/15 Entered 11/09/15 13:55:54   Desc Main
                              Document     Page 35 of 35
